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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                             )    Chapter 11
                                                   )
FUSE, LLC, et al.,1                                )    Case No.: 19-10872 (KG)
                                                   )
                              Debtors.             )    (Jointly Administered)
                                                   )
                                                   )    Ref. Docket No. 251

            NOTICE OF FILING OF SCHEDULE OF CLAIMS OF
GENERAL UNSECURED CREDITORS OF FUSE, LLC, JAAM PRODUCTIONS, LLC,
 SCN DISTRIBUTION, LLC, LATINO EVENTS LLC, FUSE HOLDINGS LLC, FUSE
                FINANCE, INC., AND FM NETWORKS LLC


                 PLEASE TAKE NOTICE that on June 18, 2019, the Honorable Kevin Gross,

United States Bankruptcy Judge for the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”), entered the Order Approving the Debtors’ Disclosure

Statement for, and Confirming, the Debtors’ Amended Prepackaged Joint Plan of

Reorganization [Docket No. 251] (the “Confirmation Order”)2 confirming the Plan [Docket No.

194] and approving the Disclosure Statement [Docket No. 14] in the chapter 11 cases of debtors

Fuse, LLC, JAAM Productions, LLC, SCN Distribution, LLC, Latino Events LLC, Fuse

Holdings LLC, Fuse Finance, Inc., and FM Networks LLC (collectively, the “Plan Proponents”).




         1
         The Debtors and the last four digits of their taxpayer identification numbers include:
Fuse Media, Inc. (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC
(5499); SCN Distribution, LLC (9656); Latino Events LLC (8204); Fuse Holdings LLC (5673);
Fuse Finance, Inc. (8683); and FM Networks LLC (6500). The Debtors’ headquarters and
service address is 700 North Central Avenue, Suite 600, Glendale, CA 91203.
      For the avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media, LLC are not
proponents of the Plan and the provisions of the Plan shall not extend to those entities.
         2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to
them in the Confirmation Order.



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                 PLEASE TAKE FURTHER NOTICE that pursuant to paragraph 47 of the

Confirmation Order, attached hereto as Exhibit 1 is a schedule of the Holders and amounts of all

General Unsecured Claims of the Plan Proponents3.



Dated: July 1, 2019                          PACHULSKI STANG ZIEHL & JONES LLP


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                                             Attorneys for Debtors and Debtors in Possession




3
        In preparing the attached schedule, the Plan Proponents relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Plan Proponents have made every reasonable effort to ensure the accuracy and completeness of
the attached schedule, subsequent information or discovery may result in material changes to the
list. As a result, inadvertent errors or omissions may exist. For the avoidance of doubt, the Plan
Proponents and the Liquidation Trustee hereby reserve their rights to amend and supplement the
schedule as may be necessary or appropriate.




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